     Case 2:22-cv-00184-LCB-CWB Document 329 Filed 10/24/23 Page 1 of 10




               IN THE UNITED STATES DISTRACT COURT
               FOR THE MIDDLE DISTRICT- OF ALABAMA
                        NORTHERNMUSION
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BRIANNA BOE, et al.,

       Plaintiffs,

v.                                          Case No. 2:22-cv-184-LCB
                                                 UNDER SEAL
STEVE MARSHALL, et al.,

       Defendants.




                SEALED MOTION TO STAY PROCEEDINGS
                   RELATING TO IN RE VAGUE, ET AL.




          FILED UNDER SEAL
     Case 2:22-cv-00184-LCB-CWB Document 329 Filed 10/24/23 Page 2 of 10




                    UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

BRIANNA BOE, et al.,

        Plaintiffs,

v.                                           Case No. 2:22-cv-184-LCB
                                                  UNDER SEAL
STEVE MARSHALL, et al.,

        Defendants.

                  SEALED MOTION TO STAY PROCEEDINGS
                     RELATING TO IN RE VAGUE, ET AL.

        COMES NOW Movant Michael Shortnacy ("Shortnacy") and moves to stay

any further proceedings in this Court resulting from or relating to the Final Report

of Inquiry issued under seal in the In re Arnie Adelia Vague miscellaneous action,

2:22-mc-3977-WKW ("Vague"), pending appeal of Vague or, in the alternative, until

the merits of the Boe case have been decided. In support of this motion, Shortnacy

states as follows:

                           PROCEDURAL HISTORY

        The stated purpose of the miscellaneous matter entitled In re Vague was "to

inquire about the issues raised by counsel's actions" in three cases that challenged

Alabama's "Vulnerable Child Compassion and Protection Act:" Ladinsky v. Ivey,

5:22-cv-447-LCB (N.D. Ala.), Walker v. Marshall, 5:22-cv-480-LCB (N.D. Ala.),


                                         1
   Case 2:22-cv-00184-LCB-CWB Document 329 Filed 10/24/23 Page 3 of 10




and Eknes-Tucker v. Ivey, 2:22-cv-184-LCB (M.D. Ala.). Vague, Doc. 1. The three-

judge panel in Vague took testimony in camera from thirty-nine lawyers involved in

Walker, Ladinsky, and Eknes-Tucker through live testimony in five confidential

hearings and sealed written declarations.

      On October 3, 2023, the panel issued a sealed "Final Report of Inquiry," and

ordered service of a copy of the Final Report to this Court "so that [this Court] may

proceed as appropriate," as well as to Chief Judges L. Scott Coogler and Emily C.

Marks. Vague, Doc. 70 (sealed). The panel also ordered the Clerk of Court to close

the Vague case. Id. Several respondents in Vague, including Shortnacy, have now

filed notices of appeal to the Eleventh Circuit Court of Appeals.

      On October 4, 2023, following its receipt of the Final Report, this Court

entered an Order stating, "[t]he Final Report of Inquiry in [Vague] has been referred

to the Court so that it may proceed as appropriate." Boe, Doc. 318 (sealed). That

Order also directed the Clerk of Court to email the Final Report to all counsel of

record in this action who are not counsel or parties in Vague. Id. In response, certain

Vague parties filed an Emergency Motion to Stay Dissemination of Sealed Final

Report. Boe, Doc. 319. The Court then entered an Order requiring counsel to submit

a memorandum the following day. Boe, Doc. 320 (sealed). Counsel complied and

submitted a sealed memorandum. Boe, Doc. 321 (sealed). The Court has now

entered a briefing Order related to the Emergency Motion to Stay (final briefs due

                                            2
   Case 2:22-cv-00184-LCB-CWB Document 329 Filed 10/24/23 Page 4 of 10




on October 26, 2023) and scheduled a hearing on November 2, 2023 to address all

pending motions and to "discuss with Counsel the next procedural steps concerning

the three-judge panel's final Report of Inquiry." Boe, Doc. 324 (sealed).

      On October 23, 2023, Shortnacy as well as other respondents in the Vague

action filed notices of appeal to the Eleventh Circuit Court of Appeals. A copy of

Shortnacy's Notice of Appeal is attached as Exhibit A.

                                   ARGUMENT

      Shortnacy respectfully requests that this Court stay any further proceedings

resulting from or relating to the Vague Final Report pending the resolution of the

appeal of the Vague matter or at least until after the merits of the Boe case have been

decided.

      District courts have "broad discretion to stay proceedings as an incident to its

power to control its docket." Clinton v. Jones, 520 U.S. 681, 706 (1997) (citing

Landis v. North American Co., 299 U.S. 248, 254 (1936)); CTI-Container Leasing

Corp. V. Uiterwyk Corp., 685 F.2d 1284, 1288 (11th Cir. 1982) (district court's

authority "to stay litigation pending the outcome of [a] related proceeding in another

forum is not questioned"). In exercising this broad discretion, district courts have

considered the following factors: "(1) whether the federal litigation is at an early

stage; (2) whether a stay will unduly prejudice or tactically disadvantage the non-

movant; (3) whether a stay will simplify the issues in question and streamline the

                                          3
   Case 2:22-cv-00184-LCB-CWB Document 329 Filed 10/24/23 Page 5 of 10




trial; and (4) whether a stay will reduce the burden of litigation on the parties and

the court." F Family South, LLC v. Baldwin County, No. 20-0612-WS-N, 2021 WL

6052922, at *3 (S.D. Ala. Oct. 4, 2021); see also Green v. Roberts, No. 10-0481-

WS-M, 2010 WL 5067442, at *2 (S.D. Ala. Dec. 6, 2010) (granting a stay to allow

the Eleventh Circuit to rule in a related case on a "threshold agency issue before this

case goes forward"); Ctr. For Biological Diversity v. Desantis, No. 8:21-CV-1521-

WFJ-CPT, 2022 WL 899677, at *6 (M.D. Fla. Mar. 28, 2022) (applying the four

factors). Further, district courts may exercise this discretion in the interest of judicial

economy. See Wilson v. Doss, No. 2:09-cv-21-MEF, 2012 WL 5936564 (M.D. Ala.

Nov. 27, 2012).

       All considerations for granting a stay, including the interest of judicial

economy, weigh in favor of staying proceedings involving or relating to the Vague

Final Report pending appeal. Any such proceedings are plainly "at an early stage,"

as this Court just received the Vague Final Report earlier this month and has not yet

taken any action in reliance on it. F Family South, LLC, 2021 WL 6052922, at *3. A

stay also will serve the interests of "simplify[ing] the issues in question" and

"streamlin[ing]" any further proceedings. Id. The Vague Final Report provides the

predicate for any proceedings in this Court against Shortnacy. Accordingly, whether

and to what extent the report survives appellate review will inform how this Court




                                             4
   Case 2:22-cv-00184-LCB-CWB Document 329 Filed 10/24/23 Page 6 of 10




may appropriately "proceed," Boe, Doc. 318 (sealed), including the appropriate

"next procedural steps," Boe, Doc. 324 (sealed).

       Shortnacy intends to raise on appeal a number of procedural, legal, and factual

issues that could result in reversal or vacatur of the order. Among other grounds,

Shortnacy intends to raise the following on appeal:

       1.      The panel overlooked Shortnacy's exculpatory declaration and
               testimony to the panel and improperly found that Shortnacy
               individually engaged in misconduct without any required finding
               of either contempt or subjective bad faith;'

       2.      The panel improperly found that Shortnacy engaged in
               misconduct based on the "collective" acts of other attorneys;2
               and

       3.      The panel improperly found that Shortnacy engaged in
               misconduct for voluntarily dismissing Ladinsky pursuant to
               Federal Rule of Civil Procedure 41(a)(1), even though the Rule
               expressly gives litigants an "unfettered right voluntarily and
               unilaterally to dismiss an action."3 Further, Shortnacy was not

I See Hernandez v. Acosta Tractors Inc., 898 F.3d 1301, 1306 (11th Cir. 2018) ("[I]n order for a
court to impose a sanction pursuant to its inherent authority, it must make a finding that the
sanctioned party acted with subjective bad faith."); see Kaplan v. DaimlerChrysler, A.G., 331 F.3d
1251, 1255 (11th Cir. 2003) (in imposing court-initiated sanctions, a court must "employ (1) a
`show-cause' order to provide notice an opportunity to be heard; and (2) a higher standard (`akin
to contempt' than in the case of party-initiated sanctions").

2 See JTR Enterprises, LLC v. Columbian Emeralds, 697 F. App'x 976, 987 (11th Cir. 2017) ("Bad
faith is personal to the offender. One person's bad faith may not be attributed to another by
operation of legal fictions or doctrines such as respondeat superior or vicarious liability.") (citation
omitted)).

3 See Matthews v. Gaither, 902 F.2d 877, 880 (11th Cir. 1990) ("It is well established that Rule
41(a)(1)(i) grants a plaintiff an unconditional right to dismiss his complaint by notice and without
an order of the court at any time prior to the defendant's service of an answer or a motion for
summary judgment"); Wolters Kluwer Fin. Servs., Inc. v. Scivantage, 564 F.3d 110, 114-15 (2d
Cir. 2009) ("[P]laintiff was entitled to file a valid Rule 41 notice of voluntary dismissal for any
                                                   5
   Case 2:22-cv-00184-LCB-CWB Document 329 Filed 10/24/23 Page 7 of 10




              yet admitted on PIN status in Ladinsky, and he did not sign the
              voluntary dismissal.

Shortnacy believes he is likely to succeed on the merits of his appeal, resulting in

reversal or vacatur of the Vague Final Report (or at least significant narrowing with

respect to himself). But at a minimum, the novel procedural posture and serious

findings in the Vague Final Report weigh in favor of permitting appellate review

before proceeding further in reliance on it. Given these considerations, staying

further proceedings resulting from the Vague Final Report pending appeal will

simplify the questions at issue and will streamline further proceedings.

       Likewise, staying any further proceedings resulting from or relating to the

Vague Final Report will reduce the burden of litigation on the Court and the parties

as well as promote the interests of judicial economy and fairness. If the issues raised

on appeal result in reversal or vacatur or narrowing of the Vague Final Report, any

proceedings based on the report may become moot or overtaken, or other

preliminary proceedings may be required before further proceedings may continue.

       Further, no party will suffer any prejudice from a stay. Any proceedings that

result from or relate to the Vague Final Report will have no impact on the scheduling




reason, and the fact that it did so to flee the jurisdiction or the judge does not make the filing
sanctionable."); Adams v. USAA Casualty Ins. Co., 863 F.3d 1069, 1080-81 (8th Cir. 2017) ("[W]e
hold that the district court erred in concluding that counsel engaged in sanctionable conduct by
stipulating to a dismissal under Rule 41(a)(1) for the purpose of forum shopping and avoiding an
adverse result.").
                                                6
   Case 2:22-cv-00184-LCB-CWB Document 329 Filed 10/24/23 Page 8 of 10




order in Boe; all deadlines will remain the same and the litigation can proceed

expeditiously. Nor will any proceedings that result from or relate to the Vague Final

Report have any impact on the merits of any claim or defense in the underlying Boe

litigation. Whether any proceedings in this Court are warranted based on the Vague

Final Report is completely independent of the merits of Boe. There is simply no

reason for this Court to take any further action in reliance on the Vague Final Report

while that report is on appeal.

      To be clear, Shortnacy is not requesting a stay of the litigation on the merits

in Boe. Nor does he seek to delay consideration of the Emergency Motion to Stay

Dissemination of Sealed Final Report in this case. Boe, Doc. 319. Instead, Shortnacy

only asks that this Court stay any further proceedings relating to or arising from In

re Vague or the Final Report of Inquiry pending appeal.

      Alternatively, if the Court is not inclined to stay further proceedings pending

appeal, then the Court should defer those proceedings until Boe's conclusion.

Recognizing the hardship that a sanctions order may impose on an attorney, the

Supreme Court has held that a district court can "reduce any hardship by reserving

until the end of the trial decisions such as whether to impose the sanction, how great

a sanction to impose, or when to order collection." Cunningham v. Hamilton County,

Oh., 527 U.S. 198, 209-210 (1999). There is no compelling reason why any

proceedings relating to the Final Report in Vague cannot be fully addressed after trial

                                          7
   Case 2:22-cv-00184-LCB-CWB Document 329 Filed 10/24/23 Page 9 of 10




or a final judgment is entered in Boe. The Vague proceedings and the Final Report

have no relevance to the merits of Boe, yet injection of such matters at this time

could distract from resolution of the merits of the Plaintiffs' claims resulting in undue

prejudice to Plaintiffs themselves—none of whom were involved in the panel

proceeding. By deferring any proceeding relating to the issues in the Final Report

until Boe's conclusion, a fair balance is struck: Boe can be resolved on its merits

without delay, and then if the Court wishes to address the matters raised in the Final

Report, the Court may do so while allowing any affected attorneys to seek immediate

appellate review.

       Respectfully Submitted,

                                         /s                14 46t-
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                                            8
  Case 2:22-cv-00184-LCB-CWB Document 329 Filed 10/24/23 Page 10 of 10




                         CERTIFICATE OF SERVICE

      I certify that, on October 24, 2023, I filed a copy of the foregoing with the
Clerk of Court UNDER SEAL and served a copy on counsel in the miscellaneous
Vague action (Case No. 2:22-mc-3977-WKW) by email. THIS MOTION AND
BRIEF WAS NOT SERVED ON THE ALABAMA ATTORNEY GENERAL
OR OTHER COUNSEL FOR PARTIES IN THIS ACTION.



                                             OF COUNSEL




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